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Exhibit B: Plaintiff Images in LAION-400M
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Exhibit B: Plaintiff Images in LAION-400M

Hope Larson: training image 1




copyright registration: All Summer Long (TX0008629478)
LAION-400M caption: “All Summer Long by Hope Larson”
LAION-400M url: https://d3fa68hw0m2vcc.cloudfront.net/471/196258371.jpeg
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Exhibit B: Plaintiff Images in LAION-400M

Hope Larson: training image 2




copyright registration: Chiggers (TX0006879805)
LAION-400M caption: “CHIGGERS by Hope Larson”
LAION-400M url: https://d1ldy8a769gy68.cloudfront.net/180/978/141/693/584/1/9781416935841.jpg
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Exhibit B: Plaintiff Images in LAION-400M

Jessica Fink: training image 1




copyright registration: Chester 5000: Isabelle & George
LAION-400M caption: “Chester 5000 (Book 2): Isabelle & George”
LAION-400M url: http://cdn.topshelfcomix.com/catalog/covers/chester_5000_book_2_cover_sm.jpg
                  Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 5 of 20


Exhibit B: Plaintiff Images in LAION-400M

Jingna Zhang: training image 1




copyright registration: Motherland Chronicles (VA0001917341)
LAION-400M caption: “aurorae: Motherland Chronicles #18 - Julia by `zemotion on deviantART”
LAION-400M url: https://i.pinimg.com/736x/8b/6c/23/8b6c239d46e3a49d2ead483b9949b8c0--character-ideas-character-
design.jpg
                   Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 6 of 20


Exhibit B: Plaintiff Images in LAION-400M

Jingna Zhang: training image 2




copyright registration: Motherland Chronicles (VA0001917341)
LAION-400M caption: “Motherland Chronicles - Self Portrait in Water , 2013”
LAION-400M url: https://images.squarespace-cdn.com/content/53adb9cbe4b05e0d792c6c88/1405552099182-
GVWPC3BG8KXVER3AUGVV/Motherland-Chronicles-7---Self-Portrait-in-Water-Zhang-Jingna-zemotion.jpg?content-type=image%2Fjpeg
                  Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 7 of 20


Exhibit B: Plaintiff Images in LAION-400M

Jingna Zhang: training image 3




copyright registration: Motherland Chronicles (VA0001917341)
LAION-400M caption: “Motherland Chronicles 2 - Winterland Fairytales (by zemotion) ”
LAION-400M url: https://64.media.tumblr.com/756ad0716e5385edcd9a7e88329df781/tumblr_miauw7P6Yt1qafz6uo1_500.jpg
                    Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 8 of 20


Exhibit B: Plaintiff Images in LAION-400M

Jingna Zhang: training image 4




copyright registration: Motherland Chronicles (VA0001917341)
LAION-400M caption: “Motherland Chronicles - Book of Roses , 2013 ”
LAION-400M url: https://images.squarespace-cdn.com/content/53adb9cbe4b05e0d792c6c88
/1405551976391-0QPVOVJGZNORCB97DEUE/Motherland-Chronicles-31---Book-of-Roses-Zhang-Jingna-zemotion.jpg?content-
type=image%2Fjpeg
                   Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 9 of 20


Exhibit B: Plaintiff Images in LAION-400M

Jingna Zhang: training image 5




copyright registration: Motherland Chronicles (VA0001917341)
LAION-400M caption: “Motherland-Chronicles #24 - Dark Alodia ”
LAION-400M url: https://images-wixmp-ed30a86b8c4ca887773594c2.wixmp.com/f/bbf9e125-bd9e-4a70-badc-1bd5affeb49f
/d6dpzv3-65e2c333-9b9c-43da-b6d0-3bbe25fdd858.jpg/v1/fill/w_221,h_350,q_70,strp
/motherland_chronicles__24___dark_alodia_by_zemotion_d6dpzv3-350t.jpg?token=eyJ0eXAiOiJKV1QiLCJhbGciOiJIUzI1NiJ9.eyJzdWIiOi
J1cm46YXBwOjdlMGQxODg5ODIyNjQzNzNhNWYwZDQxNWVhMGQyNmUwIiwiaXNzIjoidXJuOmFwcDo3ZTBkMTg4OTgyMjY0MzczYTVm
MGQ0MTVlYTBkMjZlMCIsIm9iaiI6W1t7ImhlaWdodCI6Ijw9Nzk1IiwicGF0aCI6IlwvZlwvYmJmOWUxMjUtYmQ5ZS00YTcwLWJhZGMtMWJk
NWFmZmViNDlmXC9kNmRwenYzLTY1ZTJjMzMzLTliOWMtNDNkYS1iNmQwLTNiYmUyNWZkZDg1OC5qcGciLCJ3aWR0aCI6Ijw9NTAyIn1dX
SwiYXVkIjpbInVybjpzZXJ2aWNlOmltYWdlLm9wZXJhdGlvbnMiXX0.B3RPZhY7HYihH0yxgTkcqmbouHq5QNIepHxW03bCy1s
                  Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 10 of 20


Exhibit B: Plaintiff Images in LAION-400M

Jingna Zhang: training image 6




copyright registration: Motherland Chronicles (VA0001917341)
LAION-400M caption: “Motherland Chronicles #23 - Dive by zemotion”
LAION-400M url: https://images-wixmp-ed30a86b8c4ca887773594c2.wixmp.com/f/bbf9e125-bd9e-4a70-badc-1bd5affeb49f
/d6cowsb-1b31ef43-f0d4-4b2a-
bcf6-34be19b0a39e.jpg?token=eyJ0eXAiOiJKV1QiLCJhbGciOiJIUzI1NiJ9.eyJpc3MiOiJ1cm46YXBwOjdlMGQxODg5ODIyNjQzNzNhNWYwZ
DQxNWVhMGQyNmUwIiwic3ViIjoidXJuOmFwcDo3ZTBkMTg4OTgyMjY0MzczYTVmMGQ0MTVlYTBkMjZlMCIsImF1ZCI6WyJ1cm46c2Vyd
mljZTpmaWxlLmRvd25sb2FkIl0sIm9iaiI6W1t7InBhdGgiOiIvZi9iYmY5ZTEyNS1iZDllLTRhNzAtYmFkYy0xYmQ1YWZmZWI0OWYvZDZjb3d
zYi0xYjMxZWY0My1mMGQ0LTRiMmEtYmNmNi0zNGJlMTliMGEzOWUuanBnIn1dXX0.5kPKgrrcV8_KFb1iK6wpRimWvGgPLLfxY2FJhWfqgR
g
                    Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 11 of 20


Exhibit B: Plaintiff Images in LAION-400M

Jingna Zhang: training image 7




copyright registration: Motherland Chronicles (VA0001917341)
LAION-400M caption: “Motherland-Chronicles-33---Underwater-Ascend-Zhang-Jingna-
zemotion.jpg”
LAION-400M url: https://images.squarespace-cdn.com/content/55db733fe4b0725b23e574a4
/1529261106379-79BSSEUNOWD8JD2W2EDF/Motherland-Chronicles-33---Underwater-Ascend-Zhang-Jingna-zemotion.jpg?content-
type=image%2Fjpeg
                  Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 12 of 20


Exhibit B: Plaintiff Images in LAION-400M

Jingna Zhang: training image 8




copyright registration: Anouk (VA0001911930)
LAION-400M caption: “Fashion Gone Rogue: Anouk”
LAION-400M url: https://mir-s3-cdn-cf.behance.net/projects/source/12146521.5482638fe6b81.jpg
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Exhibit B: Plaintiff Images in LAION-400M

Jingna Zhang: training image 9




copyright registration: Anouk (VA0001911930)
LAION-400M caption: “anouk van kleef6 Anouk van Kleef by Zhang Jingna for Fashion Gone
Rogue ”
LAION-400M url: https://www.fashiongonerogue.com/wp-content/uploads/2013/11/anouk-van-kleef6.jpg
                  Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 14 of 20


Exhibit B: Plaintiff Images in LAION-400M

Jingna Zhang: training image 10




copyright registration: Anouk (VA0001911930)
LAION-400M caption: “anouk van kleef4 Anouk van Kleef by Zhang Jingna for Fashion Gone
Rogue”
LAION-400M url: https://www.fashiongonerogue.com/wp-content/uploads/2013/11/anouk-van-kleef4.jpg
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Exhibit B: Plaintiff Images in LAION-400M

Sarah Andersen: training image 1




copyright registration: Adulthood is a Myth: A "Sarah's Scribbles" 2021 Wall Calendar
(TX0009082399)
LAION-400M caption: “Adulthood is a Myth: A Sarah's Scribbles 2021 Wall Calendar”
LAION-400M url: https://www.sfbok.se/sites/default/files/styles/teaser/sfbok/sfbokbilder/207/207606.jpg?bust=1582127788&
itok=Ej3ZNa8z
                  Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 16 of 20


Exhibit B: Plaintiff Images in LAION-400M

Sarah Andersen: training image 2




copyright registration: Adulthood Is a Myth: A Sarah's Scribbles Collection (TX0008207926)
LAION-400M caption: “adulthood is a myth sarah andersen 2016 andrews mcmeel publishing”
LAION-400M url: https://omnirambles.files.wordpress.com/2017/09/adulthood-is-a-myth.jpg?w=244&
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Exhibit B: Plaintiff Images in LAION-400M

Sarah Andersen: training image 3




copyright registration: Big Mushy Happy Lump: A Sarah's Scribbles Collection (TX0008493928)
LAION-400M caption: “I have so much work to do. | Sarah's Scribbles By sarahseeandersen
[Comic - Drawing - Illustration - Funny]”
LAION-400M url: https://i.pinimg.com/236x/65/fd/f4/65fdf4c41d21a5ca3d33379311455805--sarah-andersen-comics-sarah-see-
andersen.jpg
                 Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 18 of 20


Exhibit B: Plaintiff Images in LAION-400M

Sarah Andersen: training image 4




copyright registration: Big Mushy Happy Lump: A Sarah's Scribbles Collection (TX0008493928)
LAION-400M caption: “"Sarah Andersen comic ""How I Spend Money"""”
LAION-400M url: https://img.saplingcdn.com/375/ppds/5496bebe-8fd4-47d0-9538-6063abcbceaf.jpg
                 Case 3:24-cv-02531 Document 1-2 Filed 04/26/24 Page 19 of 20


Exhibit B: Plaintiff Images in LAION-400M

Sarah Andersen: training image 5




copyright registration: Herding Cats: A Sarah's Scribbles Collection (TX0008564573)
LAION-400M caption: “Title: Herding Cats: A Sarah's Scribbles Collection, Author: Sarah
Andersen”
LAION-400M url: https://prodimage.images-bn.com/pimages/9781449489786_p0_v2_s192x300.jpg
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Exhibit B: Plaintiff Images in LAION-400M

Sarah Andersen: training image 6




copyright registration: Oddball: A Sarah's Scribbles Collection (TX0009153980)
LAION-400M caption: “All credit goes to Sarah Andersen - meme”
LAION-400M url: https://images7.memedroid.com/images/UPLOADED671/5fd3dd71dc22b.jpeg
